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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


RAYTHEON COMPANY, a Delaware
corporation,

                    Plaintiff,

             vs.                                      No. 4:07 CV 109
INDIGO SYSTEMS CORPORATION, a
California corporation, and FLIR SYSTEMS,
INC., an Oregon corporation,

                    Defendants.


AND RELATED COUNTERCLAIMS.



                    ORDER GRANTING DEFENDANTS’ UNOPPOSED
                   MOTION TO EXTEND PAGE LIMIT BY THREE PAGES


         Before the Court is Defendants’ Unopposed Motion To Extend Page Limit By Three

 Pages (the “Motion”). Plaintiff does not oppose the relief requested. Having considered the

 Motion, the Court finds that the Motion should be GRANTED. Accordingly, it is hereby,

         ORDERED that Defendants’ Response To Plaintiff’s Motion To Exclude The

 Supplemental Report Of Daniel J. Sottje And Related Testimony And Documents As A

 Discovery Sanction Under FRCP 37 shall not exceed 18 pages, exclusive of signature lines and

 certificates of service and compliance with protective order.




 ORDER GRANTING DEFENDANTS’ UNOPPOSED
 MOTION TO EXTEND PAGE LIMIT BY THREE PAGES                                              Page 1
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